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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION




      SEMCON IP INC.,                               Case No. 2:16-cv-00437-JRG-RSP
                                                    (LEAD CASE)
                        Plaintiff,

                  v.

      HUAWEI DEVICE USA INC. ET AL.,

                       Defendants.


      SEMCON IP INC.,                               Case No. 2:16-cv-00438-JRG-RSP
                                                    (CONSOLIDATED CASE)
                        Plaintiff,

                  v.

      MEDIATEK INC. ET AL.,

                       Defendants.
  .


        ORDER GRANTING MEDIATEK’S OPPOSED MOTION FOR LEAVE TO FILE
                               SUPPLEMENTAL
            BRIEFING ON ITS MOTION FOR SUMMARY JUDGMENT NO. 6:
       NO PRE-SUIT DAMAGES DUE TO FAILURE TO COMPLY WITH 35 U.S.C. § 287


          Before the Court is Mediatek’s Opposed Motion For Leave To File Supplemental

   Briefing On Its Motion For Summary Judgment No. 6: No Pre-Suit Damages Due To Failure To

   Comply With 35 U.S.C. § 287. The Court, having considered same, is of the opinion the motion

   should be GRANTED.
           SIGNED this 3rd day of January, 2012.
          SIGNED this 25th day of February, 2018.




                                                    ____________________________________
                                                1   ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE
